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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

JANE DOE,

        Plaintiff,

        v.

MASSACHUSETTS DEPARTMENT OF                                 Civil Action No. 17-12255
CORRECTION; THOMAS A. TURCO III;
SEAN MEDEIROS; JAMES M. O’GARA JR.;
and STEPHANIE COLLINS,

        Defendants.


                                             COMPLAINT

        1.          Plaintiff Jane Doe is a transgender woman incarcerated at the Massachusetts

Correctional Institution located in Norfolk (“MCI-Norfolk”). Jane Doe brings this lawsuit

against Defendants the Massachusetts Department of Correction (“DOC”); Commissioner

Thomas A. Turco III; MCI-Norfolk Superintendent Sean Medeiros; Americans with Disabilities

Act Coordinator James M. O’Gara Jr.; and Assistant Deputy Commissioner of Clinical Services

Stephanie Collins.

        2.          Jane Doe suffers from Gender Dysphoria, a rare but serious medical condition and

disability.

        3.          The standard of care for treatment of Gender Dysphoria, established by the World

Professional Association for Transgender Health (“WPATH”), the American Medical

Association (“AMA”), the American Psychological Association (“APA”), and other major

medical and mental health professional organizations, is to live consistently with one’s gender

identity through counseling, hormone therapy, gender reassignment surgery, and the social and

legal transition to the sex associated with a person’s gender identity.



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        4.          Jane Doe has long ago undergone the process of gender transition and is a

woman.

        5.          To avoid debilitating psychological dysfunction and distress, Jane Doe must be

able to live consistently with her female gender identity, like other women. Rather than support

Jane Doe’s female identity, and in direct contravention of established treatment

recommendations, Defendants have undermined Jane Doe’s ability to live as a woman, have

punished her for attempting to do so, and have refused to provide reasonable accommodations

for her diagnosed condition. They have traumatized her by forcing her to live in a male

correctional facility, subjecting her to strip searches by male correctional officers, forcing her to

shower in view of male prisoners who inappropriately comment on her female breast

development and otherwise harass her, and refusing to address or refer to her using female

pronouns.

        6.          In short, Jane Doe is a woman being forced to eat, sleep, shower, and live with

men and without appropriate, reasonable accommodations that she needs for treatment of her

Gender Dysphoria.

        7.          Jane Doe therefore brings claims for violations of the Americans with Disabilities

Act, 42 U.S.C. § 12101, et seq. (“ADA”); the Rehabilitation Act of 1973, 29 U.S.C. § 701, et

seq.; the Civil Rights Act, 42 U.S.C. § 1983; the Equal Protection Clause and the Due Process

Clause of the Fourteenth Amendment to the United States Constitution; and the equality and due

process guarantees secured by Part 1, Articles I and VII, among others, of the Massachusetts

Constitution; and Articles 106 and 114 of the Massachusetts Constitution. Jane Doe seeks

injunctive relief, attorneys’ fees, and all other appropriate relief.

                                            JURISDICTION

        8.          This Court has jurisdiction over these claims pursuant to 28 U.S.C. §§ 1331,

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1343, and 1367. Many of Jane Doe’s claims arise under federal law, including the ADA, 42

U.S.C. § 12101 et seq.; the Rehabilitation Act of 1973, 29 U.S.C. § 701, et seq.; the Civil Rights

Act, 42 U.S.C. § 1983; and the Fourteenth Amendment to the United States Constitution.

        9.          Venue is proper in this district under 28 U.S. § 1391.

                                                PARTIES

        10.         Jane Doe is incarcerated at MCI-Norfolk. Jane Doe has been held at this facility

since October 31, 2016.

        11.         Defendant DOC is a department of the Commonwealth of Massachusetts. Its

central headquarters is located at 50 Maple Street, Suite 3, Milford, MA 01757.

        12.         Defendant DOC is a state government agency and therefore a public entity within

the meaning of the ADA.

        13.         Defendant DOC at all relevant times was a recipient of federal financial assistance

and therefore subject to the Rehabilitation Act.

        14.         Defendant Thomas Turco was at all relevant times the Commissioner of the DOC

and responsible for the overall administration of DOC correctional facilities, including MCI-

Norfolk, as well as the training of all DOC correctional officers. This suit is brought against

Defendant Turco in his official capacity.

        15.         Defendant Sean Medeiros at all relevant times was the Superintendent of MCI-

Norfolk and responsible for the day-to-day administration of MCI-Norfolk. This suit is brought

against Defendant Medeiros in his official capacity.

        16.         Defendant James M. O’Gara Jr. at all relevant times was the ADA Coordinator

and responsible for reviewing and rendering decisions on appeals arising from the denial of a

request for reasonable accommodations. This suit is brought against Defendant O’Gara in his

official capacity.

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        17.         Defendant Stephanie Collins at all relevant times was the Assistant Deputy

Commissioner of Clinical Services and responsible for the provision of health services to all

DOC prisoners. This suit is brought against Defendant Collins in her official capacity.


                                       FACTUAL ALLEGATIONS

                                    Gender Dysphoria & Treatment

        18.         Gender Dysphoria, as defined by the Fifth Edition of the Diagnostic and

Statistical Manual of Mental Disorders (“DSM-V”), is a medical condition in which there is a

marked incongruence between one’s experienced or expressed gender and one’s assigned sex at

birth, lasting for at least 6 months and manifested through at least two of the following

symptoms:

                    a. A marked incongruence between one’s experienced/expressed gender and

                       primary and/or secondary sex characteristics.

                    b. A strong desire to be rid of one’s primary and/or secondary sex characteristics

                       because of a marked incongruence with one’s experienced/expressed gender.

                    c. A strong desire for the primary and/or secondary sex characteristics of the

                       other gender.

                    d. A strong desire to be of the other gender (or some alternative gender different

                       from one’s assigned gender).

                    e. A strong desire to be treated as the other gender (or some alternative gender

                       different from one’s assigned gender).

                    f. A strong conviction that one has the typical feelings and reactions of the other

                       gender (or some alternative gender different from one’s assigned gender).

        19.         A person with Gender Dysphoria experiences clinical distress from having a


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gender identity – an internalized sense of being male or female – that is different than his or her

assigned sex and gender at birth.

        20.         Gender Dysphoria is associated with high levels of stigmatization, discrimination,

and victimization. The isolation of and discrimination experienced by someone with Gender

Dysphoria often leads to negative self-esteem, increased risk of mental disorders, and

comorbidity, i.e., suffering from another disease or disorder.

        21.         Individuals suffering from Gender Dysphoria often experience severe

psychological harm and suffering, including anxiety, depression, and/or thoughts of suicide.

        22.         Gender Dysphoria is, however, highly treatable.

        23.         Treatment protocol for Gender Dysphoria, as recommended by the APA, includes

“counseling, cross-sex hormones, gender reassignment surgery, and social and legal transition to

the desired gender.” Going through a “gender transition” or “transition” is the medical process

of changing one’s body from that typically associated with his or her assigned sex at the time of

birth (in Jane Doe’s case – male) to that typically associated with the person’s gender

identification (in Jane Doe’s case – female).

                    Jane Doe’s Personal History and Gender Dysphoria Diagnosis

        24.         Jane Doe was born on December 25, 1964, in Puerto Rico. Her friends and

family know her by her chosen female name, call her by that name, and have done so since she

was a young child.

        25.         Although she was assigned male at birth, Jane Doe understood herself to be

female at a very young age. Being treated as a boy, she experienced serious emotional and

mental health issues. When she was a teenager, she saw a doctor about these issues and

explained the incongruity that she felt being forced to live as a boy but feeling very much like a



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girl.

        26.         Her doctor ultimately diagnosed Jane Doe with Gender Identity Disorder, or

transsexualism. In 2013, the DSM-V replaced Gender Identity Disorder with Gender Dysphoria.

        27.         For her care and treatment, her doctor recommended that she undergo “gender

transition.” As part of that transition, Jane Doe went through the process of social role transition

and medical transition, including hormone therapy – which she has received for nearly four

decades.

        28.         As a result of this gender transition and apart from her mistreatment by DOC,

Jane Doe is a woman and, as such, had been able to live fully and consistently with her female

identity prior to her DOC incarceration.

        29.         Indeed, Jane Doe’s status as a woman is acknowledged and affirmed by her

Massachusetts Identification Card, and Jane Doe is now in the process of obtaining a court-

issued judgment recognizing her legal name change to a chosen female name.

                               Jane Doe’s Experience as a DOC Prisoner

        30.         Jane Doe entered the custody of the DOC at MCI-Cedar Junction in 2016 and was

subsequently transferred to MCI-Norfolk. She is currently serving a three to four year sentence

for a nonviolent drug offense. She is due to be released in November 2019 without discounting

for her good time in prison.

        31.         Upon entering the DOC in 2016, Jane Doe told the DOC correctional officers that

she is a woman. Jane Doe recalls conveying during her screening interview that she is a woman

and needs to be treated accordingly. She also asked to be called by her chosen female name

instead of the male name she was given at birth.

        32.         During her time at MCI-Norfolk, Jane Doe was initially assigned to a dormitory



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setting, forced to live, sleep, shower and use the bathroom with dozens of men. It was only after

outside advocacy that Jane Doe was moved to a single cell.

        33.         Jane Doe suffers from profound harm to her mental and physical health, as any

woman would, because so many male DOC staff and officers and so many DOC prisoners can

see her naked. During strip searches, which are always done by male correctional officers, DOC

staff routinely grope her breasts, causing her to feel ashamed and violated, and further

exacerbating her disorder.

        34.         A 5-day lockdown at MCI-Norfolk months ago illustrates just how horrific DOC

strip searches can be for a female prisoner. On or around June 19, 2017, DOC male staff

members approached Jane Doe’s cell and told her to strip. Jane Doe responded that she would

not take off her bra or underwear in front of male DOC staff. DOC staff asked if she was

diagnosed with Gender Dysphoria. She responded that she was, so the staff called their captain

to her cell. The captain told Jane Doe that she would be placed in solitary confinement if she did

not fully strip. Distraught, and believing that she could not psychologically handle being held in

solitary confinement, Jane Doe, sobbing, proceeded to strip. Three DOC staff members – the

two male correctional officers and their male captain – watched as she did so. Jane Doe was

forced to strip in front of her open cell door, which is on the third floor, thereby exposing her

naked body to at least a dozen male prisoners who gawked from outside, yelling taunts like “You

have some big, nice boobies!” and “I would like to see you spread like that in my room!” Jane

Doe was forced to stand, cuffed and naked, for around 30 minutes before she was allowed to get

dressed.

        35.         Showering is another source of trauma for Jane Doe. When Jane Doe showers,

male prisoners crowd into the bathroom excitedly. Jane Doe is forced to shower in terror of



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being attacked by these men. She is particularly fearful of men serving life sentences, because

she believes they view her as the only woman with whom they will ever have the opportunity to

have contact and thus target her.

        36.         After one particularly traumatizing shower incident, during which Jane Doe had

to shower while men gawked at her from the tier above her while she showered, Jane Doe began

having difficulty sleeping. She was able to sleep only three hours each night due to racing

thoughts, sadness, anxiety and distress caused by this incident.

        37.         While she was housed in a different unit, Unit 3-2, Jane Doe was given separate

shower time with other transgender prisoners. She is no longer afforded this reasonable

accommodation.

        38.         Jane Doe discussed these incidents and her corresponding fear of showering under

unsafe conditions with DOC staff, who did nothing. In response, Jane Doe’s mental health

counselors repeatedly admonished her to be “proactive” and “advocate for herself.”

        39.         On more than one occasion, even when a private shower has been available and

designated for transgender women, Defendants have denied Jane Doe the right to use this shower

and forced her to shower along with male prisoners while these prisoners snickered and made

demeaning, hurtful, and denigrating comments about her.

        40.         DOC provides what is known as a “PREA curtain” for transgender prisoners to

use during shower time. The opaque section of the curtain, however, does not line up with Jane

Doe’s body, so male prisoners can see most of her naked body, including her breasts. And,

because some cells in her current housing unit do not have bathrooms, many DOC prisoners use

the bathrooms next to the shower area, allowing even more of them to see her naked during this

time. Simply put, no curtain is sufficient to protect her privacy or safety while showering as long



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as men have access to the connected facility, as they regularly do.

        41.         Jane Doe’s inability to shower without the presence of men has exacerbated her

Gender Dysphoria and disrupted her treatment.

        42.         Although some DOC correctional officers refer to Jane Doe as female and

properly use her name chosen female name, most do not. Indeed, certain DOC correctional

officers make a point of asserting that Jane Doe’s anatomy is different than any other woman and

repeatedly state that she is still a man – for no other reason than to harass and upset her. They

make comments to Jane Doe and other transgender prisoners, calling them “chicks with dicks”

and “wannabe women.”

        43.         Corrections Officer Duszak, for example, regularly refers to Jane Doe as a Mister,

and says things like, “Do you have a penis? Then you’re still a man,” knowing that doing so

harasses and demeans Jane Doe.

        44.         Jane Doe is also regularly verbally harassed and physically threatened by other

DOC prisoners because she has Gender Dysphoria. DOC prisoners have entered her cell to

deride her and to try to physically force themselves on her, and prisoners often harass her

sexually in the bathrooms, with the knowledge and tacit approval of DOC staff. To avoid the

threats and harassment, Jane Doe often skips meals at the food hall and avoids group activities.

She is often afraid to leave her cell for fear of harassment and violence from DOC prisoners,

staff, and correctional officers. In short, her daily life activities are significantly impaired by

Defendants’ actions and inactions.

                            Jane Doe’s Gender Dysphoria Treatment Plan

        45.         Jane Doe was seen by DOC’s contracted health care providers and diagnosed with

Gender Dysphoria.



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          46.       Upon her most recent admission to the DOC in 2016, Jane Doe explained her

history of outpatient treatment for Gender Dysphoria to DOC medical staff. Specifically, during

Jane Doe’s Initial Mental Health Appraisal, conducted by Stephanie Wong, MA, on November

3, 2016, Jane Doe reported receiving treatment for Gender Dysphoria both during prior

incarcerations as well as in the free world, at River Valley Counseling Center and Caring Health

Center in Springfield, Massachusetts.

          47.       During her Mental Health Comprehensive Evaluation on November 14, 2016,

Jane Doe explained to Elizabeth Samson, LMHC, that she started wearing girls’ clothing at

school at a young age and began using her chosen female name and taking hormones in her

teenage years.

          48.       DOC medical staff obtained records of Jane Doe’s mental health history to

substantiate her claims and inform her treatment. After reviewing Jane Doe’s Appraisal,

Evaluation, and community reports, DOC medical staff agreed on her GD diagnosis and

developed an Initial Treatment Plan on December 12, 2016, to provide continuous treatment for

her diagnosis.

          49.       Jane Doe’s initial Treatment Plan indicates that her “challenges” include

“difficulties coping with gender dysphoria in a correctional setting.” Her “Target Symptoms”

are “[l]iving and coping as a transgender female within the Department of Correction” and

“gender dysphoria . . . which has been exacerbated while living in a prison setting.” (emphasis

added).

          50.       Jane Doe’s Treatment Plan states her long-term treatment goal to be to “learn

effective coping skills to manage dysphoria associated with transgender identity.” Her short-

term goals are to “[a]ppropriately advocate for [her]self” and to “obtain and use female canteen



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items” available at the facility.

        51.         Jane Doe’s Treatment Plan also calls for her to have monthly one-on-one sessions

with her Primary Care Clinician (“PCC”), for her treatment to be discussed at monthly Gender

Dysphoria Supervision Committee meetings, and for her treatment plan to be reviewed every six

months.

        52.         After six months, Jane Doe’s initial Treatment Plan was reviewed. Jane Doe’s

“Treatment Plan Review,” dated June 1, 2017, reasserts the same challenges, symptoms, and

treatment goals as are stated in her initial Treatment Plan.

        53.         The Treatment Plan Review includes Jane Doe’s “response” to her treatment.

Specifically, the Review states that Jane Doe attended all scheduled treatment sessions and

engaged appropriately with her PCC, that she continued to effectively advocate for herself within

the DOC, and that she utilized coping skills to help manage her incarceration. In other words,

Jane Doe is doing everything that she can according to her Treatment Plan to survive in an

untenable and abusive situation.

        54.         The Treatment Plan, however, falls woefully short of requiring the necessary

accommodations Jane Doe needs to treat Gender Dysphoria. Moreover, because the DOC has

failed to implement her Treatment Plan – as insufficient as it is – and Defendants have continued

their abuse and harassment, Jane Doe still experiences severe symptoms of Gender Dysphoria,

i.e. anxiety, depression, and distress, all of which impair her major life activities at MCI-Norfolk.

                     Jane Doe’s Requests for Accommodations for Her Disability

        55.         Jane Doe requested a number of accommodations in order to prevent her from

being discriminated against on the basis of her Gender Dysphoria diagnosis, to provide her with

equal access to the programs and services of the DOC, and to ensure that she can meet the single



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most important treatment goal that she be supported and recognized as a woman.

        56.         Jane Doe requested that Defendants fully respect and treat her as a woman.

        57.         Jane Doe has requested that she be granted access to preventative healthcare

including mammograms.

        58.         Jane Doe has requested that DOC employees refer to her using the correct chosen

female name and pronouns, including “she,” “her,” and “hers” instead of “he,” “him,” and “his.”

        59.         Jane Doe has requested that she be placed in DOC’s female corrections facility

known as MCI-Framingham.

        60.         In the interim, Jane Doe has requested that Defendants allow only female

correctional officers to perform strip searches on her; provide her with a separate shower time

without the presence of men; and train DOC staff on how to appropriately accommodate, treat,

and communicate with individuals with Gender Dysphoria.

              Defendants’ Failure to Accommodate Jane Doe’s Gender Dysphoria Diagnosis

        61.         Defendants have denied Jane Doe’s reasonable requests for accommodation.

        62.         She has made a classification request to be transferred to MCI-Framingham.

Kristie Ladouceur, who handles transfers at MCI-Norfolk, told Jane Doe that she could not be

transferred to the women’s prison until she has genital surgery. Defendants, however, have yet

to allow her to receive this surgery. By setting forth genital surgery as a precondition but

refusing to provide it, Defendants have created an insurmountable barrier to Jane Doe’s needed

transfer.

        63.         That said, while Jane Doe’s treatment plan should include genital reconstructive

surgery, it is not a precondition to her being recognized as a woman based on her Gender

Dysphoria diagnosis.



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        64.         Defendants have not met Jane Doe’s reasonable request regarding training for

DOC staff on how to accommodate, treat, and communicate with individuals with Gender

Dysphoria. DOC staff continue to be inadequately trained on how to deal with prisoners with

Gender Dysphoria, and inadequately supervised in their dealings with Jane Doe, exacerbating

many of the issues that she faces daily.

        65.         Defendants have not met Jane Doe’s reasonable request that she be addressed

using her female name and female pronouns. Many DOC correctional officers continue to call

her by the wrong name and masculine pronouns, exacerbating Jane Doe’s disorder.

        66.         Defendants have not met Jane Doe’s reasonable request that strip searches of her

be conducted only by female DOC correctional officers, and not male DOC correctional officers.

She is a woman who is being routinely strip searched by male DOC correctional officers. The

impact on her is scarring, humiliating, demeaning, and physically and emotionally harmful.

        67.         Defendants have not met Jane Doe’s reasonable request regarding a separate

showering time and appropriate showering curtain. Instead, DOC prison staff often force Jane

Doe to shower at the same time, and in the same bathroom, as male prisoners.

        68.         Defendants also often force Jane Doe to change and use the toilet in front of male

staff and prisoners. When she attempts to cover the window of her cell door to achieve privacy,

Defendants threaten her with disciplinary tickets.

        69.         Defendants have not met Jane Doe’s reasonable request regarding mammograms.

Jane Doe was denied access to mammograms due to discrimination. Defendants told her that if

she wants mammograms, she should stop taking estrogen so she would not need mammograms.

This reasoning is medically unreasonable and a pretext for discrimination against people with

Gender Dysphoria and based on discriminatory stereotypes of transgender people.



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                                            CAUSES OF ACTION

                                               COUNT ONE
                               (ADA – Discrimination/Failure to Accommodate)

        70.         Jane Doe incorporates by reference the preceding paragraphs of her Complaint as

though fully set forth herein.

        71.         Defendants violated the ADA, 42 U.S.C. § 12101, et seq., by discriminating

against Jane Doe on the basis of her disability. The discrimination includes:

                    a.     Refusing to transfer Jane Doe to MCI-Framingham, a women’s

                           correctional facility. Defendants have refused the transfer even though

                           Jane Doe is a woman and has a female gender identity. Jane Doe has had

                           no disciplinary problems at MCI-Norfolk and does not present a security

                           risk;

                    b.     Refusing to train DOC staff on how to appropriately accommodate, treat,

                           and communicate with individuals with Gender Dysphoria;

                    c.     Refusing to use her chosen female name when addressing or referring to

                           Jane Doe;

                    d.     Refusing to use female pronouns when addressing or referring to Jane

                           Doe;

                    e.     Allowing male correctional officers to perform strip searches on Jane Doe,

                           knowing that Jane Doe is a woman, has a female gender identity, has

                           undergone a gender transition, identifies and lives as a woman, and feels

                           fearful and sexually violated when touched by male correctional officers;

                    f.     Forcing her to shower at the same time as male prisoners, with an

                           inadequate shower curtain, knowing that Jane Doe is a woman, identifies


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                            as a woman and experiences great discomfort in showering with men, and

                            that Jane Doe had been and would be subjected to humiliating, terrifying

                            and dangerous circumstances; and

                    g.      Denying her access to preventative healthcare, including mammograms.

        72.         Defendants violated the ADA by failing to provide her with the aforementioned

reasonable accommodations.

        73.         None of Jane Doe’s requested accommodations “would materially impair the safe

and efficient operation of the program, present a safety hazard to the individual inmate or staff,

threaten the security of the correctional institution/facility, or would otherwise cause undue

hardship in the operation of the institution/facility.” 103 DOC 207.01.

        74.         Nor would any of Jane Doe’s requested accommodations “fundamentally alter the

nature of [any] service, program, or activity.” 28 C.F.R. § 35.130(b)(7).

        75.         Defendants’ actions and failure to accommodate Jane Doe’s attempts to alleviate

the stresses caused by her Gender Dysphoria have caused Jane Doe to suffer from depression,

anxiety, and have impaired Jane Doe’s ability to participate in basic life activities.

                                                 COUNT TWO
                         (Rehabilitation Act – Discrimination/Failure to Accommodate)

        76.         Jane Doe incorporates by reference the preceding paragraphs of her Complaint as

though fully set forth herein.

        77.         Defendants violated the Rehabilitation Act of 1973, 29 U.S.C. § 701, et seq. by

discriminating against Jane Doe on the basis of her disability.

        78.         Defendants’ discriminatory actions and failure to accommodate Jane Doe’s

attempts to alleviate the stresses caused by her Gender Dysphoria have caused Jane Doe to suffer

from depression, anxiety, and have impaired Jane Doe’s ability to participate in basic life


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activities. Defendants’ acts in violation of the Rehabilitation Act include:

                    a. Refusing to transfer Jane Doe to MCI-Framingham, a women’s correctional

                       facility. Defendants have refused the transfer even though Jane Doe is a

                       woman and has a female gender identity. Jane Doe has had no disciplinary

                       problems at MCI-Norfolk and does not present a security risk;

                    b. Refusing to train DOC staff on how to appropriately accommodate, treat, and

                       communicate with individuals with Gender Dysphoria;

                    c. Refusing to use her chosen female name when addressing or referring to Jane

                       Doe;

                    d. Refusing to use female pronouns when addressing or referring to Jane Doe;

                    e. Allowing male correctional officers to perform strip searches on Jane Doe,

                       knowing that Jane Doe is a woman, has a female gender identity, has

                       undergone a gender transition, identifies and lives as a woman, and feels

                       fearful and sexually violated when being intimately touched by male

                       correctional officers;

                    f. Forcing her to shower at the same time as male prisoners, with an inadequate

                       shower curtain, knowing that Jane Doe is a woman, has a female gender

                       identity, has undergone a gender transition, identifies and lives as a woman,

                       and that Jane Doe had been and would be subjected to humiliating, terrifying

                       and dangerous circumstances; and

                    g. Denying her access to preventative healthcare, including mammograms.

        79.         Defendants’ actions and failure to accommodate Jane Doe’s attempts to alleviate

the stresses caused by her Gender Dysphoria have caused Jane Doe to suffer from depression,



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anxiety, and have impaired Jane Doe’s ability to participate in basic life activities.

                                    COUNT THREE
         (Fourteenth Amendment of the U.S. Constitution – Equal Protection Clause)

        80.         Jane Doe incorporates by reference the preceding paragraphs of her Complaint as

though fully set forth herein.

        81.         Defendants, acting under color of state law, have violated Jane Doe’s rights under

the Equal Protection Clause of the 14th Amendment by impermissibly discriminating against

Jane Doe on the basis of her sex, gender identity, transgender status, and disability.

        82.         Defendants’ actions have caused Jane Doe to suffer from depression, anxiety, and

have impaired Jane Doe’s ability to participate in basic life activities.

                                     COUNT FOUR
            (Fourteenth Amendment of the U.S. Constitution – Due Process Clause)

        83.         Jane Doe incorporates by reference the preceding paragraphs of her Complaint as

though fully set forth herein.

        84.         The Due Process Clause of the Fourteenth Amendment prohibits state government

from depriving individuals of their property or liberty interests without due process of law. The

Due Process Clause of the Fourteenth Amendment requires, at a minimum, that government

action have some rational basis. Defendants’ placement of Jane Doe in a men’s correctional

facility and disregard of the fact that she is a woman and has a female gender identity is

irrational. Defendants’ treatment of Jane Doe also impermissibly burdens Jane Doe’s

fundamental rights to autonomy and privacy, including her right to live as a woman and

consistent with her female gender identity. By disregarding Jane Doe’s status as a woman and by

disregarding her female gender identity as set forth above, Defendants have violated the Due

Process Clause of the Fourteenth Amendment.

        85.         Defendants’ actions have caused Jane Doe to suffer from depression, anxiety, and

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have impaired Jane Doe’s ability to participate in basic life activities.

                                        COUNT FIVE
              (Massachusetts Constitution - Pt. 1, Articles I and VII, among others)

        86.         Jane Doe incorporates by reference the preceding paragraphs of her Complaint as

though fully set forth herein.

        87.         Defendants’ placement of Jane Doe in a men’s correctional facility and disregard

of the fact that she is a woman and has a female gender identity is in violation of Jane Doe’s

rights, including her Due Process Rights, under the Declaration of Rights, Articles I and VII,

among others, of the Massachusetts Constitution.

        88.         Defendants’ actions have caused Jane Doe to suffer from depression, anxiety, and

have impaired Jane Doe’s ability to participate in basic life activities.

                                           COUNT SIX
                              (Massachusetts Constitution – Article 106)

        89.         Jane Doe incorporates by reference the preceding paragraphs of her Complaint as

though fully set forth herein.

        90.         Defendants violated Article 106 of the Massachusetts Constitution by

discriminating against Jane Doe on the basis of her transgender status, her gender identity and

her sex. Specific violations include:

                    a. Refusing to transfer Jane Doe to MCI-Framingham, a women’s correctional

                       facility, even though Jane Doe is a woman and has a female gender identity.

                       Jane Doe has had no disciplinary problems at MCI-Norfolk and does not

                       present a security risk;

                    b. Refusing to train DOC staff on how to appropriately accommodate, treat, and

                       communicate with individuals with Gender Dysphoria;

                    c. Refusing to use her chosen female name when addressing or referring to Jane

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                       Doe;

                    d. Refusing to use female pronouns when addressing or referring to Jane Doe;

                    e. Allowing male correctional officers to perform strip searches on Jane Doe,

                       knowing that Jane Doe is a woman, has a female gender identity, has

                       undergone a gender transition, identifies and lives as a woman, and feels

                       fearful and sexually violated when being intimately touched by male

                       correctional officers;

                    f. Forcing her to shower at the same time as male prisoners, with an inadequate

                       shower curtain, knowing that Jane Doe is a woman, has a female gender

                       identity, has undergone a gender transition, identifies and lives as a woman

                       and experiences great discomfort in showering with men, and that Jane Doe

                       had been and would be subjected to humiliating, terrifying and dangerous

                       circumstances; and

                    g. Denying her access to preventative healthcare, including mammograms.

        91.         Defendants’ actions and failure to accommodate Jane Doe’s attempts to alleviate

the stresses caused by her Gender Dysphoria have caused Jane Doe to suffer from depression,

anxiety, and have impaired Jane Doe’s ability to participate in basic life activities.

                                         COUNT SEVEN
                              (Massachusetts Constitution – Article 114)

        92.         Jane Doe incorporates by reference the preceding paragraphs of her Complaint as

though fully set forth herein.

        93.         Defendants violated Article 114 of the Massachusetts Constitution by

discriminating against Jane Doe on the basis of her gender identity and her disability, Gender

Dysphoria. Specific violations include:


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                    a. Refusing to transfer Jane Doe to MCI-Framingham, a women’s correctional

                       facility. Defendants have refused the transfer even though Jane Doe’s gender

                       identity is female, she has undergone a gender transition, and all of her

                       acquaintances outside of MCI-Norfolk recognize and treat Jane Doe as a

                       woman. Jane Doe has had no disciplinary problems at MCI-Norfolk and does

                       not present a security risk;

                    b. Refusing to train DOC staff on how to appropriately accommodate, treat, and

                       communicate with individuals with Gender Dysphoria;

                    c. Refusing to use her chosen female name when addressing or referring to Jane

                       Doe;

                    d. Refusing to use female pronouns when addressing or referring to Jane Doe;

                    e. Allowing male correctional officers to perform strip searches on Jane Doe,

                       knowing that Jane Doe has a female gender identity, has undergone a gender

                       transition, identifies and lives as a woman and feels fearful and sexually

                       violated when being intimately touched by male correctional officers;

                    f. Forcing her to shower at the same time as male prisoners, with an inadequate

                       shower curtain, knowing that Ms. has a female gender identity, has undergone

                       a gender transition, identifies and lives as a woman and experiences great

                       discomfort in showering with men, and that Jane Doe had been and would be

                       subjected to humiliating, terrifying and dangerous circumstances; and

                    g. Denying her access to preventative healthcare, including mammograms.

        94.         Defendants’ actions and failure to accommodate Jane Doe’s attempts to alleviate

the stresses caused by her Gender Dysphoria have caused Jane Doe to suffer from depression,



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anxiety, and have impaired Jane Doe’s ability to participate in basic life activities.

                                            COUNT EIGHT
                              (42 U.S.C. § 1983 – Violation of Civil Rights)

        95.         Jane Doe incorporates by reference the preceding paragraphs of her Complaint as

though fully set forth herein.

        96.         Defendants are “persons” under 42 U.S.C. § 1983 who acted “under the color of

state law” and deprived Jane Doe of rights secured by the U.S. Constitution. Specific violations

include:

                    a. Refusing to transfer Jane Doe to MCI-Framingham, a women’s correctional

                       facility. Defendants have refused the transfer even though Jane Doe’s gender

                       identity is female, she has undergone a gender transition, and all of her

                       acquaintances outside of MCI-Norfolk recognize and treat Jane Doe as a

                       woman. Jane Doe has had no disciplinary problems at MCI-Norfolk and does

                       not present a security risk;

                    b. Refusing to train DOC staff on how to appropriately accommodate, treat, and

                       communicate with individuals with Gender Dysphoria;

                    c. Refusing to use her chosen female name when addressing or referring to Jane

                       Doe;

                    d. Refusing to use female pronouns when addressing or referring to Jane Doe;

                    e. Allowing male correctional officers to perform strip searches on Jane Doe,

                       knowing that Jane Doe has a female gender identity, has undergone a gender

                       transition, identifies and lives as a woman and feels fearful and sexually

                       violated when being intimately touched by male correctional officers;

                    f. Forcing her to shower at the same time as male prisoners, with an inadequate


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                          shower curtain, knowing that Ms. has a female gender identity, has undergone

                          a gender transition, identifies and lives as a woman and experiences great

                          discomfort in showering with men, and that Jane Doe had been and would be

                          subjected to humiliating, terrifying and dangerous circumstances; and

                    g. Denying her access to preventative healthcare, including mammograms.

        97.         Defendants actions have caused Jane Doe to suffer from depression, anxiety, and

have impaired Jane Doe’s ability to participate in basic life activities.

                                          PRAYER FOR RELIEF

                    WHEREFORE, Jane Doe respectfully prays that this Court:

        A.          Enter judgment in favor of Jane Doe against Defendants on each of the counts in

this complaint;

        B.          Issue injunctive relief against Defendants ordering Defendants not to discriminate

against Jane Doe on the basis of her transgender status, her gender identity, her sex, and/or her

disability, including but not limited to ordering them to:

                    (1)      Treat Jane Doe the same as other women held by the DOC;

                    (2)      Transfer Jane Doe to MCI-Framingham;

                    (3)      Train all DOC staff on how to appropriately accommodate, treat and

                             communicate with individuals with Gender Dysphoria;

                    (4)      Discipline all DOC staff who fail to appropriately accommodate, treat and

                             communicate with individuals with Gender Dysphoria;

                    (5)      Refer to Jane Doe by her chosen female name;

                    (6)      Use only female pronouns when speaking to or about Jane Doe;

                    (7)      Only allow strip searches of Jane Doe to be conducted by female

                             correctional officers, never male correctional officers;

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                    (8)    Provide Jane Doe a separate shower time without the presence of men and

                           with a shower curtain that adequately covers her; and

                    (9)    Provide Jane Doe access to preventative healthcare, including

                           mammograms.

        C.          Award Jane Doe her reasonable costs and expenses of this action;

        D.          Award Jane Doe’s counsel reasonable attorney’s fees under 42 U.S.C. § 1983 and

                    any other applicable law; and

        E.          Grant such other and further relief as this Court considers just and proper.



                                                              Respectfully submitted,

                                                              Jane Doe

                                                              By her attorneys,


                                                              /s/ J. Anthony Downs________
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        Dated: November 15, 2017




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